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                                     UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                                  ORLANDO DIVISION

    AVIATION ONE OF FLORIDA, INC.,

                                        Plaintiff,

    -vs-                                                                      Case No. 6:13-cv-1243-Orl-36DAB

    AIRBORNE INSURANCE
    CONSULTANTS (PTY), LTD, AFRICA
    TOURS AND TRAVEL, LLC and
    MOHAMED DIAOUNE,

                            Defendants.
    ________________________________________

                                        REPORT AND RECOMMENDATION
    TO THE UNITED STATES DISTRICT COURT

              This cause came on for consideration without oral argument on the following motion filed

    herein:

                  MOTION:          MOTION TO AMEND/CORRECT COMPLAINT (Doc.
                                   No. 51)

                  FILED:      April 8, 2014
                  _____________________________________________________________

                  THEREON it is RECOMMENDED that the motion be GRANTED.

              Plaintiff, Aviation One of Florida Inc. (“Aviation One”) filed its Complaint against

    Defendants, Airborne Insurance Consultants (PTY), LTD (“Airborne”), Africa Tours and Travel, LLC

    d/b/a S.A. Guinea (“S.A. Guinea”) and Mohamed Diaoune for negligence, indemnity, and breach of

    guarantee and lease claims arising out of destruction of an aircraft and denial of the insurance claim.

    According to Plaintiff, Aviation One leased its aircraft to S.A. Guinea, who obtained insurance

    through Airborne, an insurance broker1, for coverage of the aircraft. Two weeks after the policy was


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               Airborne subsequently procured a policy for the aircraft through Guardrisk Insurance Company; the renewal was
    also through Guardrisk.
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    renewed, on September 1, 2009, the aircraft crashed during takeoff in West Africa. The insurer

    (Guardrisk) has denied coverage based on various policy exclusions, including that the pilot of the

    Aircraft at the time of the crash, Duane Wilson, was not covered under the policy. Doc. 1.

           Aviation One alleges that Airborne was the agent of Aviation One and S.A. Guinea at the time

    coverage was requested for the aircraft pursuant to the Lease along with a breach of warranty

    (“BOW”) endorsement to cover the full hull value in the event of loss; Airborne was further fully

    advised of additional pilots that were to be added to the policy, including Duane Wilson. Aviation

    One contends Airborne negligently furnished a policy of insurance from an insurer not authorized to

    insure a loss in Florida and was negligent in completing the policy paperwork, failing to include the

    BOW coverage in the renewal policy provided to Aviation One. Doc. 1. Aviation One now seeks to

    add claims against Airborne for breach of fiduciary duty and against counsel for Airborne and

    Aviation One, Clyde & Co., for professional negligence. Doc. 51-1.

           I. Procedural History

           Aviation One filed suit on August 16, 2013. On December 13, 2013, Aviation One was

    granted leave to correct a misnomer in the name of Airborne as listed in the caption of the case. See

    Doc. 12, 14. Aviation One subsequently had significant problems serving the South Africa

    Defendants. See Docs. 10, 26, 27. On April 15, 2014, Judge Honeywell entered the Case

    Management and Scheduling Order (“CMSO”), setting the date for amended pleadings as May 30,

    2014. Doc. 57.

           Aviation One now seeks leave to amend the Complaint to add an additional breach of fiduciary

    duty claim against the current Defendant Airborne arising out of the same facts as the original claims,

    and to assert a new claim against Clyde & Co., the South African lawyers who represented Airborne

    and Aviation One. Airborne is opposed to allowing the amendments (Doc. 59), and the other two

    named Defendants, SA Guinee and Mohamed Diaoune, did not respond to the Motion. Because the


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    Court finds that the amendment would be timely, will not prejudice Defendants, and is not futile, the

    Motion to Amend the Complaint is GRANTED.

            II. Standard for Amendment

            Federal Rule of Civil Procedure 15(a) allows a party to amend its pleadings “by leave of

    court” and directs that “leave shall be freely given when justice so requires.” The Eleventh Circuit

    has observed, “[t]he policy of the federal rules is to permit liberal amendment to facilitate

    determination of claims on the merits.” Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (11th

    Cir. 1981). To further this policy, generally a district court may deny a motion for leave to amend

    only if there is a “substantial reason.” Id. Leave to amend should be granted within the court’s

    discretion, limited only by the Supreme Court's admonition that leave to amend should not be

    permitted where there is “undue delay, bad faith or dilatory motive on the part of the movant, repeated

    failure to cure deficiencies by amendment previously allowed, undue prejudice to the opposing party

    by virtue of allowance of the amendment, [or] futility of amendment, etc.” Foman v. Davis, 371 U.S.

    178, 182 (1962).

            III. Analysis

            Aviation One argues that its Motion to Amend is timely because, since service of the

    Complaint, there has been no discovery conducted, and Rule 26 discovery disclosures have not been

    made. Also, although Airborne has filed a Motion to Dismiss the Complaint for lack of personal

    jurisdiction (Doc. # 24), none of the named Defendants has answered the complaint.

            Airborne argues Plaintiff’s amendment of the Complaint should be denied because it seeks to

    add causes of action that have been available to Plaintiff since it first filed the Complaint eight months

    ago, based on facts and documents that have been in Plaintiff’s possession or accessible to Plaintiff

    for years prior to filing the initial Complaint. Airborne contends that the proposed Amended

    Complaint does far more than merely add a claim for breach of fiduciary duty against Airborne or add


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    a new party to the suit. Instead, Airborne argues that Aviation One is clandestinely attempting to add

    that Aviation One is now suing on behalf of its “assignee” and add or amend allegations addressing

    personal jurisdiction, subject-matter jurisdiction, venue, damages, negligence, and common-law

    indemnity which address failings identified by Airborne’s Motion to Dismiss. Airborne also argues

    that the proposed amendment is futile because any claims against Airborne are premature prior to

    resolution of Plaintiff’s lawsuit against the insurer, which is currently pending in South Africa.

           Aviation One’s Motion to Amend is timely and filed before the deadline of May 30, 2014 that

    Judge Honeywell set in the CMSO. Airborne concedes that the amended complaint will appropriately

    cure deficiencies Airborne identified in its Motion to Dismiss. Leave to amend should be freely

    granted “in the absence of undue delay, bad faith or dilatory motive . . . [or] repeated failure to cure

    deficiencies by amendments previously allowed.” Foman v. Davis, 371 U.S. 178, 182 (1962)

    (emphasis added). In this case, this is Aviation One’s first amendment to the Complaint and is not

    in “repeated” failure to cure deficiencies. Courtney v. Clark, 2007 WL 2786368 (M.D. Ala. Sept.

    24, 2007) (denying amendment where party had repeatedly failed to cure deficiencies in her compliant

    by filing multiple amendments and defendants would be forced to file and brief their fourth motion

    to dismiss).

           Thus, Airborne’s only viable argument opposing Aviation One’s amendment concerns whether

    the amendments are futile. “While the court should grant leave ‘when justice so requires,’ a district

    court need not ‘allow an amendment . . . where amendment would be futile.’” Bryant v. Dupree, 252

    F.3d 1161, 1163 (11th Cir. 2001). Airborne argues that the amended complaint will be subject to

    “immediate dismissal or summary judgment in favor of Airborne” because (1) the claim against

    Airborne has not accrued and will be subject to immediate dismissal and (2) the Court lacks personal

    jurisdiction over Airborne, as discussed in Airborne’s extensive Motion to Dismiss, pending before

    the District Court. See Docs. 34, 52. The Court notes that Aviation One alleges in the proposed


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    Amended Complaint (Doc. 51-1) that “[a]lthough not authorized to engage in business in the state,

    Airborne as agent, bound, issued and delivered a policy of aviation insurance to Florida resident

    Aviation One in Florida, to insure an aircraft that was in Florida at the time coverage was issued” and

    the “subject aircraft was registered and located in a hangar in Volusia County, Florida.” Doc. 51-1

    ¶¶ 6-7. At least for purposes of determining whether amendment of the Complaint would be clearly

    futile as to personal jurisdiction allegations, Plaintiff’s allegations state at least a plausible basis for

    personal jurisdiction over Airborne.2

             Airborne argues that the claims against it would be futile because Aviation One’s claim for

    agent negligence has not yet accrued; a cause of action against an insurance broker is premature until

    the insured or third party’s action against the insurer has been resolved in the insurer’s favor. Doc.

    59 at 7 (citing Fontainebleau Gardens Condo. Ass’n, Inc. v. Pacific Ins. Co., Ltd., 768 F. Supp. 2d

    1271, 1276 (S.D. Fla. 2011) (explaining “an insured’s cause of action against an agent for negligence

    does not accrue until the proceedings against the insurer are final.” (internal quotation marks

    omitted)); Blumberg v. USAA Cas. Ins. Co., 790 So. 2d 1061, 1065 (Fla. 2001). Thus, Airborne

    argues, no cause of action against it is currently ripe; only if Aviation One loses its breach of contract

    action against the insurer (Guardrisk) in the South Africa litigation will the negligence claim ever be

    at issue. See also Looney v. Protective Life Ins. Co., No. 8:07-cv-1020, 2007 WL 2669190, at *4

    (M.D. Fla. Sept. 6, 2007) (explaining that if the plaintiff is successful under the insurance policy, then

    the plaintiff will have suffered no damages due to the alleged negligence of the insurance agent).

    Airborne argues that Aviation One is in the midst of litigating against Guardrisk for breach of the

    insurance policy in South Africa (and thereby alleging the existence of coverage), yet suing Airborne

    for failure to procure that very coverage; thus, Aviation One’s claims in this Florida lawsuit against

    Airborne are premature.

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                The District Court is free to decide the issues raised in any motion seeking dismissal of Airborne for lack of personal
    jurisdiction based on the parties’ full briefings.

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           However, Aviation One’s allegations in its Proposed Amended Complaint are distinguishable

    from the singular negligence allegations in the cases cited by Airborne because of the additional

    claims asserted here. Doc. 59 at 8 (citing, e.g., Looney, 2007 WL 2669190, at *4 (granting motion

    to dismiss action brought against insurance agent where the coverage action against the insurer was

    not final); Wright v. Standard Ins. Co., No. 8:07-cv-1586, 2008 WL 5070228, at *3 (M.D. Fla. Nov.

    24, 2008) (allowing voluntary dismissal after holding that the negligence claim against the agent was

    premature until coverage issue was decided)).

           In this case, in addition to the negligent procurement of insurance claim (Count I), Aviation

    One also alleges claims for breach of fiduciary duty (Count II) and common law indemnity (Count

    III). The breach of fiduciary duty claim alleges “[f]ollowing the crash, Airborne assumed the role of

    counselor and advisor to Aviation One regarding its rights under the policy, served as Aviation One’s

    representative in communications with Guardrisk, and ultimately obtained legal counsel, whom it

    advised Aviation One was fully advised in the premises and it encouraged Aviation One to confer

    with Guardrisk to confirm Airborne’s contention that Guardrisk should cover the claims and could

    be expeditiously persuaded to do so.” Doc. 51-1 ¶ 54. Following the crash, Aviation One relied on

    Airborne to advise Aviation One of its rights under the policy and possible recourse against

    Guardrisk, which activities were undertaken by Airborne; Aviation One, unfamiliar with litigation,

    reasonably relied on the course of action directed by Airborne, who represented itself as informed and

    experienced regarding aviation insurance. Doc. 51-1 ¶ 57. Aviation One alleges in part that Airborne

    is liable for breach of fiduciary duty in assuming representation in pursuing coverage for its loss and

    failing to inform Aviation One of all material facts, including Airborne’s conflicting interests with

    Aviation One in hiring Airborne’s legal counsel, Clyde & Co. Doc. 51-1 ¶ 61.

           Under Florida law, a claim for breach of fiduciary duty and for negligent failure by a broker

    to procure requested insurance coverage are separate causes of action and may be pled in the


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    alternative. Wachovia Ins. Services, Inc. v. Toomey, 994 So.2d 980, 990 (Fla. 2008) (holding

    insurance brokers will often have both a fiduciary duty to their insured-principals and a common-law

    duty to properly procure requested insurance coverage). As Aviation One argues, counsel for the

    South African case against Guardrisk was selected by Airborne despite the conflict of interest and the

    coverage issues may never reach resolution3.

           Aviation One alleges it is entitled to indemnity from Airborne because Aviation One is wholly

    without fault in this action and it has incurred damages and obligations to pay legal fees and costs,

    travel and transportation expenses, loss of use damages, and sums owed to the third-party lender on

    the 1900C solely as a result of Airborne’s multiple acts of negligence and negligent omissions in

    securing insurance for Aviation One and breaching its fiduciary duty to Aviation One. Doc. 51-1 ¶

    67. To succeed on a common law indemnity claim in Florida, “the party seeking indemnification

    must be without fault, and its liability must be vicarious and solely for the wrong of another . . . who

    was at fault.” Dade County School Bd. v. Radio Station WQBA, 731 So.2d 638, 642 (Fla. 1999);

    Federal Ins. Co. v. Western Waterproofing Co., 500 So.2d 162, 165 (Fla. 1st DCA 1986).

           In opposing Aviation One’s Motion to Amend, Airborne does not discuss the supposed futility

    of Aviation One’s breach of fiduciary duty or indemnity claims, or the alleged conflicts which may

    keep the coverage issue from being timely decided. See Doc. 59. Thus, Aviation One’s claims for

    breach of fiduciary duty and indemnity, which are based (at least partially) on separate facts that

    occurred after the Crash when Airborne allegedly advised Aviation One to hire counsel and/or pursue

    Guardrisk, cannot at this juncture be deemed futile. Accordingly, Aviation One’s Motion to Amend

    its Complaint should be GRANTED.

           IV. Conclusion



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               Doc. 61 at 2.

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           It is respectfully RECOMMENDED that Aviation One’s Motion to Amend (Doc. 51) be

    GRANTED. It is further respectfully RECOMMENDED that Airborne’s Motion to Dismiss the

    Complaint (Doc. 34) be DENIED as moot with leave to refile once the Amended Complaint is filed,

    if warranted, and Aviation One’s Motion to File a Reply (in support of Motion to Amend) and to

    Strike Affidavit (filed by Airborne in support of Reply to Motion to Dismiss) (Doc. 61) be DENIED

    as moot.

           Failure to file written objections to the proposed findings and recommendations contained in

    this report within fourteen (14) days from the date of its filing shall bar an aggrieved party from

    attacking the factual findings on appeal.

           Recommended in Orlando, Florida on May 7, 2014.


                                                                David A. Baker
                                                                DAVID A. BAKER
                                                          UNITED STATES MAGISTRATE JUDGE

    Copies furnished to:

    Presiding District Judge
    Counsel of Record
    Courtroom Deputy




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